          Case 17-21787-CMB   Doc 111    Filed 03/22/22 MEMO
                                         PROCEEDING      Entered 03/22/22 15:35:49   Desc Main
                                        Document     Page 1 of 1

Date: 03/22/2022 11:00 am
 In re:   Rita Shine Bird


                                                  Bankruptcy No. 17-21787-CMB
                                                  Chapter: 13
                                                  Doc. # 101

Appearances: BY ZOOM: Ronda Winnecour
                      Scott Lowden; Denise Carlon


Nature of Proceeding: #101 Continued Hearing Re: Objection To Notice of Mortgage Payment
Change


Additional Pleadings: Doc - Notice of Mortgage Payment Changed (Claim #4) Filed by PNC Bank,
National Association
                      #103 Response by PNC Bank National Association to #101
                      #108 Motion To Continue The Hearing on Objection To Notice of Mortgage
Payment Change
                      #109 Order Signed 01/21/2022 Granting Docket #108 - Hearing scheduled for
01/25/2022 at 11:00 a.m. is CANCELLED and CONTINUED to 03/22/2022 at 11:00 a.m.


Judge's Notes:


Outcome: Hearing Held. By 04/05/2022, a Consent Order is to be filed.



                                                  Carlota Böhm
                                                  Chief U.S. Bankruptcy Judge

                                                   FILED
                                                   3/22/22 3:02 pm
                                                   CLERK
                                                   U.S. BANKRUPTCY
                                                   COURT - WDPA
